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14
                                 UNITED STATES DISTRICT COURT
15
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
                                         WESTERN DIVISION
17
18      STUDENT DEBT CRISIS,                              Case No. 2:19-cv-10048-JAK-AS
19                  Plaintiff,
20                         v.                             DECLARATION OF MICHAEL C.
                                                          MARTINEZ IN SUPPORT OF
21     CONSUMER FINANCIAL                                 PLAINTIFF’S MOTION FOR LEAVE
       PROTECTION BUREAU, KATHLEEN                        TO FILE SUPPLEMENTAL
22                                                        INFORMATION
       KRANINGER, in her official capacity as
23     Director of the Consumer Financial
24     Protection Bureau,
25                  Defendants.
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27
28
                                                      1
          Martinez Decl. in Support of Mot. For Leave to File Suppl. Info., No. 2:19-cv-10048-JAK-AS
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 1          Pursuant to 28 U.S.C. § 1746, I, Michael C. Martinez, declare as follows:
 2          1.     I am a Senior Counsel at Democracy Forward Foundation and counsel of
 3    record for Plaintiff Student Debt Crisis in this matter, No. 2:19-cv-10048-JAK-AS. I
 4    submit this declaration in support of SDC’s motion for leave to file supplemental
 5    information. The assertions I make below are based upon my personal knowledge.

 6          2.     On June 10, 2020, SDC filed its Response (ECF No. 37) to Defendants’
      Motion to Dismiss (ECF No. 33). The briefing on the Motion to Dismiss was completed
 7
      on July 1, 2020.
 8
            3.     On March 5, 2020, Education Secretary Betsy DeVos testified before the
 9
      Senate Appropriations Subcommittee on Labor, Health and Human Services, Education,
10
      and Related Agencies. The video of that hearing can be found on the Subcommittee’s
11
      website at: https://www.appropriations.senate.gov/hearings/review-of-the-fy2021-
12
      budget-request-for-the-us-department-of-education).
13
            4.     On or about July 23, 2020, after the briefing on the Motion to Dismiss was
14    completed, the Department of Education responded in writing to questions for the record
15    from the Senate Appropriations Subcommittee (“QFRs”). A copy of the QFRs can be
16    found at:
17    https://www.help.senate.gov/download/wordmurrayqfrs5mar20hearingonfy21edbudget.
18          5.     I have read these QFRs. They include the Department’s response relating to
19    a joint examination, with the Consumer Financial Protection Bureau, of federal student
20    loan servicers. A true and correct excerpt of the relevant question and answer is attached
21    hereto as Exhibit A and can be found on page 43 of the QFRs.
22
23    I declare under penalty of perjury that the foregoing is true and correct.

24
      Executed on August 13, 2020.                            /s/ Michael C. Martinez
25
      Washington, District of Columbia                        Michael C. Martinez
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                                                      2
          Martinez Decl. in Support of Mot. For Leave to File Suppl. Info., No. 2:19-cv-10048-JAK-AS
